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                      UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                      )       CHAPTER 7
                                            )
ANGELA M. MORGAN,                           )       CASE NO. 20-65889-PMB
                                            )
              DEBTOR                        )

NANCY J. GARGULA,                           )
UNITED STATES TRUSTEE,                      )
REGION 21,                                  )
                                            )
              MOVANT,                       )
                                            )
       vs.                                  )       CONTESTED MATTER
                                            )
KEVIN DONNELL PARKER,                       )
                                            )
              RESPONDENT.                   )


                    MOTION FOR DISALLOWANCE OF FEE
                  AND IMPOSITION OF MONETARY SANCTIONS
                       FOR VIOLATIONS OF 11 U.S.C. § 110

       COMES NOW Nancy J. Gargula, United States Trustee for Region 21, and files

this motion for relief pursuant to section 110 of the United States Bankruptcy Code. 1 In

particular, the United States Trustee requests the Court:

A.     find that Kevin Donnell Parker acted as a non-attorney bankruptcy petition

preparer by preparing for compensation one or more documents for filing in this case;


1
 11 U.S.C. § 101 et. seq. References to “section” by word or by symbol refer to sections of the
United States Bankruptcy Code.
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B.     pursuant to Bankruptcy Code section 110(l)(1), assess a fine of up to $500 per

violation for Kevin Donnell Parker’s failure to comply with Bankruptcy Code section

110(b), which requires that he include his name, address, and signature on documents

prepared for filing;

C.     pursuant to Bankruptcy Code section 110(l)(1), assess a fine of up to $500 per

violation for Kevin Donnell Parker’s failure to comply with Bankruptcy Code section

110(c), which requires that he include his social security number on documents prepared

for filing;

D.     pursuant to Bankruptcy Code section 110(l)(1), assess a fine of up to $500 because

Kevin Donnell Parker failed to comply with section 110(h)(2), which requires that he file

a disclosure of his compensation together with the debtor’s petition;

E.     triple the amount of fines imposed, as provided by Bankruptcy Code section

110(l)(2), because Kevin Donnell Parker prepared documents in a manner that failed to

disclose his identity as the preparer;

F.     order forfeiture of all fees charged by Kevin Donnell Parker as provided by

Bankruptcy Code 110(h)(3)(B)

G.     find that Kevin Donnell Parker engaged in deceptive and fraudulent conduct; and

H.     order Kevin Donell Parker to pay Angela Morgan the greater of $2,000 or twice

the amount Ms. Morgan paid to Kevin Parker.
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                                         PARTIES

                                              1.

   Nancy J. Gargula, United States Trustee for Region 21 (“United States Trustee” or

“Movant”) is an Executive Branch official who is responsible for “protecting the public

interest and ensuring that bankruptcy cases are conducted according to the law.” See, 28

U.S.C. § 586 H.R.; Rep. No. 95-595, 95th Cong., 2nd Sess. 109 (1978), reprinted in 1978

U.S.C.C.A.N. 5963, 6070. The United States Trustee is a party in interest who may raise

and appear and be heard on any issue in any case or proceeding under Title 11. 11 U.S.C.

§ 307. In addition, Bankruptcy Code section 110 expressly authorizes the United States

Trustee to seek relief under that section.

                                              2.

   Angela Morgan is the debtor in this case, which was commenced on April 27, 2020,

when a petition for relief under chapter 7 of the United States Bankruptcy Code naming

Angela M. Morgan as debtor was submitted to the Clerk of Court by electronic

mail(“Petition”). (Docket No. 1)

                                             3.

   On June 6, 2020, Angela Morgan appeared at the first section 341 meeting of

creditors and testified that this case was filed without her knowledge or consent. The

meeting was continued to give Ms. Morgan time to correct inconsistencies in her

pleadings.
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                                                      4.

    On June 8, 2020, Howard Jay Kent entered his appearance as Ms. Morgan’s attorney.

(Docket No. 16) Mr. Kent continues to serve as counsel in this case.

                                                        5.

    On June 23, 2020, Ms. Morgan appeared and testified at the continued 341 meeting.

During the meeting Ms. Morgan testified that she had engaged a bankruptcy petition

preparer who filed this case without her knowledge or consent.

                                                        6.

    Kevin Donnell Parker (“Respondent”), who is not a member of the State Bar of

Georgia, acted as a petition preparer in connection with Ms. Morgan’s bankruptcy case.

                                                      7.

        Respondent communicated with Ms. Morgan by email transmissions from the

following address: bkncomplete@gmail.com. Ms. Morgan has produced several email

messages between her and the Respondent where he used this address. Respondent listed

this email address as his contact information on the petition he filed for his personal

bankruptcy case, 20-65343 PMB, on April 6, 2020. 2

                                                      8.

        Ms. Morgan’s schedules and statement of financial affairs (Docket No. 10) and


2
  Respondent communicated with Ms. Morgan using the cell phone number 470-279-2213. Ms. Morgan provided
this number to the Henry County Police Department when she reported the Respondent’s fraudulent actions. This
same number was listed as Respondent’s contact information in a bankruptcy case he filed in the District of
Columbia in 2019, 19-00835-SMT.
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statement regarding payment advice (Docket No. 11) were sent to the Clerk’s office in a

FedEx envelope which shows Kevin Parker as the sender from the following address:

3455 Ellington Way, Atlanta, Georgia 30349. (Docket No. 10, Pg. 53, and Docket No.

11, Pg. 2) Kevin Parker listed this as his residential address on his personal bankruptcy

petition filed April 6, 2020, Case No. 20-65343-pmb.



               KEVIN PARKER ACTED AS A PETITION PREPARER

                                            9.

       A “bankruptcy petition preparer” is a person, other than an attorney, who prepares

for compensation a “document for filing.” 11 U.S.C. § 110(a)(1). A “document for filing”

is a petition or any other document prepared for filing by a debtor in a United States

bankruptcy court or in a district court in connection with a case under title 11. 11 U.S.C.

§ 101(a)(2).

                                           10.

       For a fee, Respondent prepared one or more documents for filing in these cases,

including the following: the Petition (Docket No. 1); application for waiver of filing fee

(Docket No. 4); statement of financial affairs and schedules (Docket No. 10); and

statement regarding payment advice (Docket No. 11) (collectively “the Documents”).

                                           11.

      During the June 23, 2020, 341 meeting, Angela Morgan testified that, although she
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contacted Respondent to act as her bankruptcy petition preparer, she did not sign the

Documents, she did not submit the Documents to the Clerk of Court, and the Documents

were filed without her knowledge or consent.

                                                        12.

         Ms. Morgan testified that she paid Respondent $2,500: $500 as compensation for

Respondent’s services as a petition preparer and $2,000 as compensation for Respondent

instructing Ms. Morgan how to become a bankruptcy petition preparer.

                                                        13.

         Respondent refunded $1,000 when Ms. Morgan confronted him about his failure

to provide instruction about becoming a petition preparer.



                           KEVIN PARKER VIOLATED 11 U.S.C. § 110

                                                        14.

         Bankruptcy Code section 110(b) requires a bankruptcy petition preparer who

prepares a document for filing to sign the document and print his name and address on

the document. 3 If the preparer is not an individual, then an officer, principal, responsible

person, or partner of the preparer must sign the document and print his name and address

on the document. 11 U.S.C. § 110(b)(1)(A) and (B).


3
  Official Form 119, entitled “Bankruptcy Petition Preparer’s Notice, Declaration and Signature,” includes sections
for the preparer to provide his name, address, signature, and social security number. Form 119 instructs preparers
that they “must fill out this form every time they help prepare documents that are filed in the case” and warns that
“[a] bankruptcy petition preparer who does not comply . . . may be fined, imprisoned, or both.”
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                                             15.

       Respondent failed to include his name, address, and signature on the Petition

(Docket No. 1); the application for waiver of filing fee (Docket No. 4); statement of

financial affairs and schedules (Docket No. 10); and statement regarding payment advice

(Docket No. 11) as required by 11 U.S.C. § 110(b). As to each document, the Court may

assess a fine of up to $500 for violation of this section. 11 U.S.C. § 110(l).

                                             16.

       Bankruptcy Code section 110(c) requires the bankruptcy petition preparer to place

an identifying number on each document that identifies the individual who prepared it.

For purposes of this section, the identifying number is the individual’s Social Security

account number. 11 U.S.C. § 110(c)(2)(A).

                                             17.

       Respondent failed to include his social security number on the Petition (Docket

No. 1); the application for waiver of filing fee (Docket No. 4); statement of financial

affairs and schedules (Docket No. 10); and statement regarding payment advice (Docket

No. 11). As to each document, the Court may assess a fine of up to $500 for this

violation. 11 U.S.C. § 110(l).



                                             18.
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          Bankruptcy Code section 110(h)(2) requires the bankruptcy petition preparer file,

together with the petition, a declaration, under penalty of perjury, disclosing any fee

received from or on behalf of the debtor within 12 months immediately prior to the filing

of the case and any unpaid fee charged to the debtor (Official Form 2800).

                                                  19.

          Respondent failed to file Form 2800 (Disclosure of Compensation of Bankruptcy

Petition Preparer) together with the Petition. The Court may assess a fine of up to $500

for this violation. 11 U.S.C. § 110(l).

                                                  20.

          Pursuant to Bankruptcy Code section 110(l)(2)(D), the Court should triple the

amount of the assessed fines because Respondent prepared the Documents in a manner

that failed to disclose his identity as the preparer.

                                                  21.

          Because Respondent failed to comply with Bankruptcy Code section 110, the

Court may order that all fees he charged in connection with the case be forfeited. 4




4
    11 U.S.C. §110(h)(3)(B).
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KEVIN PARKER ENGAGED IN FRAUDULENT & DECEPTIVE CONDUCT

                                              22.

          Ms. Morgan testified that she did not authorize Respondent to file the Petition

and that she was unaware that she was in a bankruptcy case until much later.

                                              23.

         Respondent engaged in deceptive and fraudulent conduct by filing the Petition

without Ms. Morgan’s knowledge or consent. The Respondent also engaged in deceptive

and fraudulent conduct when he filed the other Documents without Ms. Morgan’s

knowledge or consent.

                                              24.

         Federal Rule of Bankruptcy Procedure 1008 requires that all petitions, lists,

schedules, statements, and amendments thereto be verified or contain an unsworn

declaration as provided in 28 U.S.C. § 1746. 5 Ms. Morgan testified that she did not sign

the Documents.

                                              25.

         Respondent engaged in deceptive and fraudulent conduct by forging or causing

someone else to forge Ms. Morgan’s signature on the Documents.




5
    See also, BLR 9001-1(o).
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          WHEREFORE, the United States Trustee requests the Court:

A.        find that Kevin Parker acted as a non-attorney bankruptcy petition preparer by

preparing for compensation a document for filing in this case;

B.        pursuant to Bankruptcy Code section 110(l)(1), assess a fine of up to $500

because Kevin Parker failed to comply with Bankruptcy Code section 110(b), which

requires that he include his name, address, and signature on documents prepared for

filing;

C.        pursuant to Bankruptcy Code section 110(l)(1), assess a fine of up to $500

because Kevin Parker failed to comply with Bankruptcy Code section 110(c), which

requires that he include his social security number on documents prepared for filing;

D.        pursuant to Bankruptcy Code section 110(l)(1), assess a fine of up to $500 because

Kevin Parker failed to comply with section 110(h)(2), which requires that he file a

disclosure of his compensation together with the debtor’s petition;

E.        triple the amount of fines imposed, as provided by Bankruptcy Code section

110(l)(2), because Kevin Parker prepared a document in a manner that failed to disclose

his identity as the preparer

F.        order forfeiture of all fees charged by Kevin Parker as provided by Bankruptcy

Code 110(h)(3)(B);

G.        find that Kevin Parker engaged in deceptive and fraudulent conduct; and

H.        grant such other or further relief as the Court deems appropriate.
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Dated: December 31, 2020                    NANCY J. GARGULA
                                            United States Trustee, Region 21

                                            s/ Jeneane Treace
                                            R. Jeneane Treace
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